Case 1:09-cv-04077-PGG-GWG Document 137 Filed 10/15/13 Pageilof3. -

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

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LOCKHEED MARTIN TRANSPORTATION a

SECURITY SOLUTIONS, AN OPERATING UNIT OF Hie

LOCKHEED MARTIN CORPORATION, No. 09 ev 4077 (PGG)GWG)
Plaintiff, ECF CASE —

-against-

MTA CAPITAL CONSTRUCTION COMPANY and
METROPOLITAN TRANSPORTATION AUTHORITY,

Defendants. NOTICE OF MOTION FOR: ©
PARTIALSUMMARY
x JUDGMENT BY PLAINTIFF |

 

 

TRAVELERS CASUALTY AND SURETY COMPANY
OF AMERICA, FEDERAL INSURANCE COMPANY,
and SAFECO INSURANCE COMPANY OF AMERICA,

Plaintiff, No. 09 cv 6033 (PGG)(GWG) .
-against- arn

METROPOLITAN TRANSPORTATION AUTHORITY,
MTA CAPITAL CONSTRUCTION COMPANY, and
NEW YORK CITY TRANSIT AUTHORITY,

Defendants.

PLEASE TAKE NOTICE that, upon the annexed declaration of Matthew A. Taylor, : a
dated July 15, 2013, the Statement Pursuant to Local Civil Rule 56.1, dated July 15, 2013, the | : 1
exhibits annexed to Plaintiff Lockheed Martin Transportation Security Solutions An Operating
Unit of Lockheed Martin Corporation’s, (“Lockheed Martin”) Appendix to the Rule 56.1 : : °
Statement, and the Joint Appendix of all parties, and all other pleadings and proceedings had
herein, Lockheed Martin by their attorneys, will move this Court before the Hon. Paul G. : :
Gardephe, Judge of the United States District Court for the Southern District of New York, 40 : : ; | .
Foley Square, New York, NY, at a date and time to be determined by the Court, for an order, - :
pursuant to Federal Rule of Civil Procedure 56 (a), granting partial summary judgment in its: |

favor, on the following factually and legally unsupported issues underlying Defendants’ MTA :

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Case 1:09-cv-04077-PGG-GWG Document 137 Filed 10/15/13 Page 2 of 3 _

Capital Construction Company and Metropolitan Transportation Authority (collectively “MEA”),

wrongful termination of Lockheed Martin:

“1,

The contract did not require Lockheed Martin to develop software and the. :
contract prohibited Lockheed Martin from either modifying the Commercial Of Co
The Shelf software or developing custom software unless there was a written 7 . 7
modification to the contract in the form of a directive and written approval which |
was not given; ee

The Test Evaluation Master Plan (““TEMP”), which is material to the issues sa this .
case, was approved by MTA and governed all testing of the IESS System; and |
MTA agreed that Lockheed Martin could move equipment into the field without | :
fixing all variances from the FAT testing phase; ae
MTA waived its right to terminate the contract and elected the remedy of
damages for purported breaches that occurred months, if not years, prior to . _
termination when MTA allowed Lockheed Martin to continue its performance; : . | -
MTA wrongfully terminated Lockheed Martin for purported delay because after | |
the original Substantial Completion of August 29, 2008, MTA permitted : ee
Lockheed Martin to continue work, but failed to reinstate time is of the essence as.
an essential term of the agreement and establish a reasonable completion date; and | :
MTA agreed that certain requirements issues, called “showstoppers” because | 2 |
MTA viewed them as crucial functionality, were resolved or closed prior to - : | ; os

termination and therefore, cannot be relied on as a basis for termination.

| PLEASE TAKE FURTHER NOTICE that, pursuant to the scheduling order in this case, =

answering papers, if any, shall be served and filed on or before August 23, 2013.

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Case 1:09-cv-04077-PGG-GWG Document 137 Filed 10/15/13 Page 3 of 3 a

PLEASE TAKE FURTHER NOTICE that, pursuant to the scheduling order, reply
papers, if any, shall be served and filed on or before September 12, 2013.

Dated: New York, NY
July 15, 2013

DUANE MORRIS LLP

By: /s/ Matthew A. Taylor oe
Matthew A. Taylor (MT 2914) | 30 5
1540 Broadway oe
New York, NY 10036
(212) 692-1000
Attorneys for Plaintiff Lockheed :

Martin Transportation Security
Solutions An Operating Company of
Lockheed Martin Corporation:

TO: © Ira Lipton, Esq.
Hoguet Newman Regal & Kenney, LLP
10 East 40th Street
: New York, New York 10016-0301
- Phone: (212) 689-8808
- Attorneys for Defendants MTA Capital Construction Company
_ and Metropolitan Transportation Authority

’ Adam Friedman, Esq.
- Woltf & Samson PC
The Offices at Crystal Lake
One Boland Drive
West Orange, NJ 07052
Phone: 973-325-1500
Attorneys for Plaintiffs Travelers and
- Casualty and Surety Company of
America, Federal Insurance Company
And Safeco Insurance Company of America

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